    Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 1 of 7




                       (;+,%,7
-&&;'DYLG$XWRU'DYLG'RUQ/DZUHQFH.DW]&KULVWLQD3DWWHUVRQ 
    -RKQ9DQ5HHQHQ&RQFHQWUDWLQJRQWKH)DOORIWKH/DERU6KDUH
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Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 2 of 7




American    Economic          Review          Papers         Proceedings          2017         107    5   180? 185

https doi org 10.1257              aer p20171102




                                       Concentrating                                 on the                 Fall of the                      Labor Share?


                                                     By David Autor David Dorn Lawrence F Katz
                                                       Christina Patterson and John Van Reenen




      economics
           There has been an upswing

                          and      the    media            over
                                                                        of interest in

                                                                        the decline             in    the
                                                                                                                  sectors

                                                                                                                  pattern
                                                                                                                                  such

                                                                                                                                  not
                                                                                                                                              as wholesale

                                                                                                                                             readily      explained by
                                                                                                                                                                       retail             and

                                                                                                                                                                                      rising
                                                                                                                                                                                                  utilities

                                                                                                                                                                                                      trade
                                                                                                                                                                                                                   a




                                                                                                                                                                                               2014
                                                                                                                  relative
      share          of     GDP        going          to    labor         The       stability          of              Karabarbounis                      and Neiman                                    instead

      the      labor        share of           GDP was one of the famous                                          emphasize that                    the    cost    of capital has                 fallen

      Kaldor                             ? stylized facts?                 of     growth The                                 to        the    cost    of    labor driven                   especially             by
                          1961
      macro stability                    of    labor?s            share    was always as                          rapid        declines              in    qualityadjusted                       equipment




                                                                                                                  capital
                                                                                                                  technologies
      Keynes remarked                         ? something                of a    miracle? and                     prices of            information              and   communication

      disguised instability                          at the industry              level         Elsby                A                       decline in the           relative             price       of

      Hobijn              and Sahin                                 Karabarbounis                     and               will      lead to          a decline in the              labor         share under
                                                     2013
      Neiman                             emphasize that                   the    decline         in the           CES production                      functions            if        the capital labor
                          2014
      labor share               is    not confined                 to   the United              States            elasticity            of    substitution            is    greater             than        unity

      and occurs              primarily within rather than                                between                 Although                  Karabarbounis             and            Neiman             present

      industries              Although                there        is    controversy                over          evidence              that       the    elasticity            exceeds           unity        the

      the      degree         to     which        the      fall    in the       labor share is                    bulk of the empirical literature suggests                                             a much




      capital similar
      due       to   measurement issues such                               as the     treatment                   lower        elasticity                e g Lawrence 2015                                  Since

      of    housing              Rognlie                           and intangible                                 changes              in relative         factor prices              tend to be
                                                     2015
               Koh Santaeul?lia Llopis and Zheng 2016                                                                   across firms lower elasticity i                                   e below unity
      there is            consensus            that there           has been              a    decline            lower        relative            equipment          prices             should         lead      to



      particularly
      in the         US labor share since the 1980s
                 in the        2000s
                                                                                                                  greater capital

                                                                                                                  in all     firms            In
                                                                                                                                                   adoption

                                                                                                                                                    Autor et
                                                                                                                                                                   and falling

                                                                                                                                                                    al
                                                                                                                                                                                              labor


                                                                                                                                                                                2017 we find the
                                                                                                                                                                                                         shares



           Nevertheless                     little     consensus                exists         on     the         opposite                  the    unweighted              mean               labor         share

      causes           of   the decline               in    the     labor share Elsby                             across firms has                   not    decreased            much           since       1982


      importance
      Hobijn              and

                 of international
                                   Sahin
                                                  2013            argue     for

                                                     trade and find that the labor
                                                                                    the                           Thus the average

                                                                                                                  aggregate
                                                                                                                  labor share To explain the decline
                                                                                                                                                         firm shows little                  decline

                                                                                                                                                                                            in the
                                                                                                                                                                                                             in   its




      share declines                  the     most in US industries strongly                                                labor       share one must study                          the      reallocation

      affected              by       import           shocks              However                labor            of    activity             among heterogeneous                           firms        toward

      shares           have          also     declined              in    most nontraded                          firms with low and                       declining            labor shares

                                                                                                                       In    Autor            et    al                     we         propose           a     new
                                                                                                                                                            2017
                                                                                                                                        firm model



                                                                                                                  aggregate
                                                                                                                  superstar                                  that emphasizes the role of
               Autor        MIT       Department            of     Economics Cambridge
      MA 02142 e maildautor mitedu Dorn Department                                                     of         firmheterogeneity                       in the    dynamics of the

      Economics University                    of Z?rich           8001 Z?rich         Switzerland                           labor share              We hypothesize that industries
       email david dornecon uzh ch                                      Katz      Department           of         are       increasingly                 characterized                   by     a      ? winner
      Economics              Harvard          University           Cambridge          MA          02138
                                                                                                                  take most?                 feature       where one                 firm        or    a small
       email lkatz harvard edu Patterson MIT Department
      of Economics Cambridge MA 02142    e mail cpatt mit                                                         number               of                 can     gain      a        very       large       share
                                                                                                                                             firms
                 Van        Reenen        MIT        Department            of    Economics            and         of    the       market Large firms have                                     lower         labor
      edu



      helpful dependent
      Sloan      School          Cambridge            MA          02142     e mailvanreene                        shares          if    production              requires             a     fixed       amount
      mitedu           This is a companion                  paper to Autor           et   al     2017             of    overhead              labor        in addition               to    a size
      We       thank      Daron       Acemoglu             and     Jason    Furman            for
                                                                                                                            variable              labor     input      or       if    markups            in the
            discussions            This     research        was funded           by the        National

      Science         Foundation            the      European           Research     Council          the         product              market        correlate         positively                 with        firm

      Economic            and Social          Research       Council        the    MIT Initiative                 size       Possible              explanations                 for      the     growth           of

      on the         Digital     Economy             and    the Swiss           National        Science           winner          take        most include             the           diffusion          of    new
                                                                                                                                                                  eg easier price quality
      Foundation
           ?                                                                                                      competitive                platforms
               Go to https doi org 10.1257                        aer p20171102            to visit   the

                 page for                                               and author
                                                                                                                  comparisons                  on the                                the      proliferation
      article                        additional       materials                               disclosure                                  Internet

      statement           s                                                                                       of    information intensive goods                                      that    have        high


                                                                                                            180
Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 3 of 7




   VOL 107 NO 5                                                                     CONCENTRATING                          ON THE FALL OF THE LABOR SHARE                                                              181




   fixed          and low marginal costs                                                 eg           software                 imperfect            competition firms with                          larger      market

   platforms                   and         online                                        or      increasing                    shares        will     be     able      to     set    higher markups                  eg

   integration
                                                            services
   competition                      due to          the     rising international                                               Cournot                                        also leading             to a negative
                                                                                                                                                competition
                          of   product               markets                   New          technologies                       relationship       between   firm size and labor shares

   may also have strengthened network                                                            effects            and        In    either          case        when           there        is    an exogenous
                                                            more adept                                                                                                        more market share


                                                                                                                               aggregate
   favored                firms           that      are                                       at      adopting                 change          that       allocates                                                  to   a

   and       exploiting                   new modes of production                                                              small number of large superstar firms the

         This         paper               exposits          and            evaluates                 two            core                labor        share       will        fall   as the        economy         shifts

   claims             of        the        superstar                   firm explanation                                        toward          these       low labor share firms Autor                            et   al
                                                                                                                      i
   the       concentration                       of    sales             among              firms          within                              formalize this idea                    in a       simple superstar
                                                                                                                                2017
   an industry                      should          rise across                        much      of       the        US        firm model             for       a monopolistically                      competitive

   private            economy and                                      industries             with larger                      setting          Distinct          from          the       prior literature             the
                                                ii
   increases

   larger          decline
                           in        concentration

                                      in labor?s share
                                                                        should              experience                 a

                                                                                                                               heterogeneity
                                                                                                                               superstar firm

                                                                                                                                          of
                                                                                                                                                             model emphasizes the
                                                                                                                                                firms within industries                           as being      critical

                                                                                                                                                                                                          share We


                                                                                                                               mechanism
                                                                                                                               for understanding                      the    fall    in the       labor

                                                    I Model                                                                    next show             that        in line        with the model?s

                                                                                                                                               the    concentration                   of    sales      across     firms

         To       see          the        intuition            for       a link between                              the       within industries has                        grown          in most      US sectors
   rise          of       superstar              firms             and             a    decline            in        the

   labor share                        consider                     a    production                    function                                 II     Data       and Empirical Findings

   Y             AV _ L K 1_ _ L where Y is                                    value added                          V is
   variable               labor           K is capital and A is Hicks neutral                                                       We       use data           from the             US economic               census


   heterogeneous
                                                                                                                               economic
   efficiency
                                TFPQ which we assume is                                                                        conducted              every           five      years       to     enumerate           all

                          across            firms There                        is       a fixed           amount               establishments                   in select           sectors       on   current

   of       overhead                 labor       F needed                      for       production                   so                     activity        We focus on the economic census
                                                           F We assume
   total         labor is            L          V                                                that factor
                                                                                                                               manufacturing
                                                                                                                               from 1982              to   2012        for six large               sectors




   imperfect covered
   marginal
   markets                are   competitive                    with wage                  w and cost of                                             retail      trade wholesale trade services

   capital            r    being equal to                          the     input factors?                                      finance         and utilities            and transportation                  The
                  revenue                 products                 while                there        is                                 establishments                  in these           six    sectors      account

                 competition                    in    the          product               market From                           for four fifths             of total private                sector employment

   the       static        first order                condition                    for    labor           we can                    For      the     six     sectors            the       census       reports     each

   write the

   value added
                           share

                                     PY
                                           of    labor

                                                 as
                                                                   costs               wL     in      nominal
                                                                                                                               employment
                                                                                                                               establishment?s

                                                                                                                                             and      an
                                                                                                                                                                annual payroll output

                                                                                                                                                             identifier             for     the    firm to       which



                                                                       _   L             wF                                    concentration
                                                                                                                               the   establishment belongs

                                                                                                                                                     of    sales       within
                                                                                                                                                                                      To measure
                                                                                                                                                                                       an industry we
                                                                                                                                                                                                            the

                                                                                                                                                                                                                       use




                                                                                                                               measure
        1                 Si                wPYL
                                                       i
                                                                           i
                                                                                         PY      i                             an output             measure capturing                      total      sales    by     the

                                                                                                                               establishment                during the survey year                          To
   where                   is        the     markup the                             ratio     of          product                       sales at the            firm level we aggregate                     the sales




   indicate
   price              P        to    marginal               cost               c        and F             is       fixed       of all    establishments                 that belong to the                same firm


                                                                                                                               establishments
   overhead                labor costs                 The             firm subscripts                         i               and      the    same industry If a firm operates



        _L
             wF
                  that         for

                               a firm will
                                          given        economy wide
                                                           have          a      lower         labor
                                                                                                     values           of

                                                                                                                   share       combination
                                                                                                                                        of firm
                                                                                                                                                     in    several

                                                                                                                                                      and industry
                                                                                                                                                                             industries

                                                                                                                                                                                    is counted
                                                                                                                                                                                                   each

                                                                                                                                                                                                       as a separate

   if             its      share           of    fixed             costs           in    total        revenues                 firm capturing                   the    firm?s separate                 contributions
             i
   is    lower            or               its      markup               is        higher Superstar                            to sales        concentration                 in several industries
                                     ii
   firms           firms with                   high       A   i
                                                                       will        be    larger because                             To implement                 our industry level analysis we

   they           produce                 more         efficiently                      and          capture           a       assign each                establishment                in   a given year             to   a

   higher share                      of industry                   output               Superstar                  firms       1987 SIC based time consistent                                      industry       code

   therefore

   in total
                           will

                      revenues
                                          have       a lower

                                                and thus a lower
                                                                         share of                fixed

                                                                                              labor
                                                                                                                   costs

                                                                                                               share
                                                                                                                               methodology
                                                                                                                               as    described

                                                                                                                                                yields
                                                                                                                                                           in   Autor         et

                                                                                                                                                                 676 industries 388
                                                                                                                                                                                    al
                                                                                                                                                                                            2017
                                                                                                                                                                                                         Our
                                                                                                                                                                                                          of     which




   elasticity leading
   industry
   In        monopolistically                              competitive                      models                   the       are    in     manufacturing                    All     of our        measures           use

   markup                 is    the        same across                         firms        in       an                        these      time consistent                    industry            definitions


                          _          __      1 where _                             is   the      price                                  to   measures             of    industry            concentration            that

                  of demand                      However                       in      other models                   of       differ        slightly           from         published             statistics        The
Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 4 of 7




   182                                                                       AEA PAPERS AND PROCEEDINGS                                                                                                                      MAY 2017


    Panel                  A Manufacturing                                                                                            Panel                      B Finance
                     44                                                                       75                                                           35
                                                                                                                                                                                                                                   60




                                                                                                                                      concentration
                                                                                                   Top
    concentration




                                                                                                                                                                                                                                         Top
                     42
                                                                                                   20
                                                                                              70                                                           30                                                                            20
                     40                                                                                                                                                                                                            55




                                                                                                     concentration




                                                                                                                                                                                                                                          concentration
                     38
                                                                                              65

   4                                                                                                                                 4                     25                                                                      50
                     36


   Top 34                                                                                     60                                     Top                                                                                           45
                                                                                                                                                           20

                          1980               1990                 2000               2010                                                                   1990              1995           2000        2005         2010




    Panel                  C Services                                                                                                 Panel                      D     Utilities     and transportation


                     16                                                                       28                                                           40                                                                       64




                                                                                                                                           concentration
    concentration




                                                                                                      Top                                                                                                                                Top
                                                                                              26
                     14                                                                               20                                                                                                                            62 20
                                                                                                                                                           35
                                                                                              24



                                                                                                                concentration




                                                                                                                                                                                                                                          concentration
                     12                                                                                                                                                                                                             60
                                                                                              22

   4                 10                                                                       20
                                                                                                                                     4                     30
                                                                                                                                                                                                                                    58

                                                                                                                                     Top
   Top                                                                                        18                                                                                                                                    56
                      8                                                                                                                                    25
                          1980               1990                 2000               2010                                                                       1990           1995            2000            2005          2010




    Panel                  E Retail trade                                                                                             Panel                      F Wholesale trade
                                                                                                                                                           30                                                                       60
                     30                                                                       45
                                                                                                                                           concentration
    concentration




                                                                                                      Top
                                                                                                                                                                                                                                           Top

                                                                                                                                                           25                                                                       50
                     25                                                                       40      20                                                                                                                                   20
                                                                                                                concentration




                                                                                                                                                                                                                                                  concentration
                                                                                                                                                           20                                                                       40
                     20                                                                       35



   4                 15                                                                       30                                      4                    15                                                                       30


                                                                                                                                      Top                  10
   Top                                                                                        25                                                                                                                                    20
                     10
                          1980               1990                 2000                2010                                                                      1980                 1990              2000             2010




                                                                                 CR4 with sales                                                 CR4 with employment

                                                                                 CR20 with    sales                                             CR20 with employment



                                                 Figure     1 Average Top 4 Industry Concentration                                                                   by Major Industry Group



   Notes                  This    figure     plots   the    average      concentration       ratio    in six major                                          sectors      of   the    US economy          Industry concentration                     is

   calculated                 for     each    time consistent          four digit    industry   code as described                                                in Autor      et    al              and then     averaged across all
                                                                                                                                                                                          2017
   industries                within each of          the six sectors         The solid line with circles                                        plotted              on the left axis shows the average               fraction     of    total

   industry sales that                       is accounted        for   by the largest    four firms in that                                           industry and            the    solid   line   with triangles     also plotted        on

   the left axis shows                       the   average       fraction    of industry employment                                 utilized in                      the four largest        firms in the   industry Similarly the

   dashed line with circles plotted on the right axis shows                                          the                        average               fraction         of total     industry sales that is      accounted        for by the

   largest                20 firms in that industry and                the   dashed   line   with triangles                               also plotted                    on the     right   axis shows the average          fraction         of

   industry employment                           utilized in the       20 largest firms in the industry Data                                                    for the financial         sector    in panel   B and for utilities       and

   transportation                     in panel     D are available only since 1992




                                                                                                                                     average
   correlation                         between             our     calculated          measures                                      or the                      fraction           of sales       accruing      to   its   20    largest

   and                those       based        on    the     published          data     is   close                                  firms                        denoted                           Figure     1 plots the
                                                                                                                                                                                     CR20
   to               one however                for    periods without                 changes         in                                                    CR4 and CR20 across                          four digit         industries

   industry                   definitions                                                                                            for our six sectors                                  from 1982 to           2012 The            level

                    We measure the concentration                              of sales within                                        of sales concentration varies                                        considerably across

   an industry                         as either the             fraction       of    total    sales                                 sectors                           In each year the                 top    four firms           in     an

   accruing                      to          four largest          firms       denoted                                               average                           manufacturing                 industry       capture         more
                                                                                              CR4
                                      its
Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 5 of 7




   VOL 107 NO 5                                               CONCENTRATING                  ON THE FALL OF THE LABOR SHARE                                                                 183




   than      onethird of the                 industry?s total            sales while             Panel    A Top 4 concentration
   the   top four firms in the average                          service industry
                                                                                                  45
   combine           for less than            one sixth of total sales
        There is a remarkably                      consistent          upward trend
                                                                                                  40


   manufacturing
   in    concentration

             the
                                      in

                    sales concentration
                                           each sector

                                                          ratio
                                                                  In

                                                                   among the top
                                                                                                  35
   four increases                from 38 percent              to   43 percent           in

                                 from 24 percent               to 35



   utilities
   finance          it   rises                                            percent       in

   services         from 11 percent to 15 percent                               in                30

          from 29 percent to 37 percent


   wholesale
                                                                       in retail trade                 1990              1995               2000                2005                 2010

   from       15 percent              to     30 percent           and     in                                                              Survey year

             trade        from 22 percent                to   28 percent             Over
             same period                           were
   the                                  there                 similar      or       larger
                                                                                                 Panel    B Top 20 concentration
   increases             in   CR20 for sales
        To     further           characterize             the      emergence            of        75

   superstar             firms        Figure        1 also        plots    CR4         and
                                                                                                  70
   CR20            concentration              measures            based        on     firm

   employment                  rather than         sales Again            we observe              65

   a rise in        concentration              in all six sectors              for 1982

   to    2012            although            employment                concentration              60



   concentration
   has    grown notably more slowly than sales
                          in   finance        services        and especially in
                                                                                                  55

                                                                                                       1990              1995               2000                2005                 2010

   manufacturing                     The     pattern      suggests         that      firms                                                Survey year
   may attain large market shares with a relatively
   small workforce                     as exemplified                  by Facebook                                      Sales    by domestic    firms               Including    imports



   and       Google
        In    Autor et           al                 we show that the two                            Figure      2 Industry Concentration                            Adding Imports
                                        2017
   main qualitative                   findings      of Figure           1 are robust
                                                                                                 Notes     This    figure plots           the   average      sales    concentration           in
   to the     use        of an industry?s Herfindahl                      Hirschman
                                                                                                 US four digit                                                                          2012

   concentrated
                                                                                                                        manufacturing           industries          from 1992 to
                                                    become         more
     HHI
   index                        Sales      have


                                                                                                 industry?s
                                                                                                 The line with triangular markers                    the   average        fraction    of   total

              in    each        of the       six broad sectors of the                  US        sales   by domestic             firms that     is   accounted        for     by an

   economy                                                                                               four largest      firms        corresponding          to   the   CR4 Sales data
        A     measurement                    challenge         for      our     finding
                                                                                                 series in the top        left    panel of Figure
                                                                                                                                                           1   The line with squares

                                                                                                 markers      the fraction         of the   total    US market defined                as sales
   of rising             concentration             for   broad         US sectors is
                                                                                                 by domestic       firms         plus   industry imports which                  is   produced
   that      our concentration                 measures            are calculated




   foreign
                                                                                                 by an    industry?s          four    largest    ? firms?      where each            group of

   exclusively                 using         US based           establishments                   exporting countries              is counted     as an individual firm Imports

   Thus our measures include                              production            by               are based on       UN Comtrade             data     as    described       in Autor        et al


              multinationals                  operating           in     the    United            2017 and the six country groups are Canada Mexico
                                                                                                 CAFTA    China   low income countries  except China
   States          but they            exclude           imports         A measure               eight    developed           countries         Australia           Denmark          Finland
   that       includes           only        the    market         shares       of     US        Germany        Japan           New      Zealand        Spain       and
                                                                                                                                                                          Switzerland
   producers              may mischaracterize                      concentration                 and   rest   of the world              On average         0.94     country groups are

   trends given                rising        import shares              particularly             among     the top four firms in panel               A and 2.7 country groups
                                                                                                 are among        the   top 20 firms in          panel B
   for    manufacturing


   competitive
        We assess the importance of trade in the

   calculating      structure           of    manufacturing               by



                                                                                                 foreign
               import adjusted concentration                              ratios      that       concentration                   The      slightly         higher         level       of    the

   treat      imports           from major           country            groups as       if       adjusted concentration                          ratios        implies           that

   they belong                 to a   single       firm Figure            2 plots      the                producers                such         as                   account           for    a
                                                                                                                                                     China
   import adjusted CR4 and CR20 measures                                             along
                                                                                                 manufacturing
                                                                                                 sizable       fraction            of     sales in     some



   without
   with       the        original      measures only for                   US based                      industries Imports in such industries                                        likely

   establishments                     The      series         with        and                    originate        from a small number                           of major             foreign

             trade        adjustment          track       each     other        closely          firms but our data                       do     not permit               a   firmlevel
   reaffirming                 our    main         finding        of    rising       sales       breakdown               of     imports
Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 6 of 7




   184                                                               AEA PAPERS AND PROCEEDINGS                                                                                                                                      MAY 2017


        A     further          implication              of     our        superstar          firm                             0.6




                                                                                                    Coefficient estimates
   differentially
   model          is that      the    labor share should                        fall
                                                                                                                              0.4

                   in industries            that are          experiencing              larger
                                                                                                                              0.2
                                                                                                                                                 0.124
   increases         in concentration                     Intuitively            the    causal
                                                                                                                                  0
   force      in    our        model         is    the       shift    in    competitive
                                                                                                                                                                       _0.14
   conditions             which         reallocates              market           share       to                            _ 0.2                                                        _ 0.238               0.265
                                                                                                                                                                                                           _
                                                                                                                                                                                                                              _0.366
   larger     and        more productive firms Indeed Autor                                                                 _ 0.4                                                                                                                   _ 0.404



   relationship
   et    al
                  2017
                    in    the
                               document

                                    cross     section
                                                       a strong negative

                                                                between            a    firm?s
                                                                                                                            _ 0.6

                                                                                                                            _ 0.8




                                                                                                                                        1987




                                                                                                                                                                1992




                                                                                                                                                                                  1997




                                                                                                                                                                                                    2002




                                                                                                                                                                                                                       2007




                                                                                                                                                                                                                                             2012
   market          share       and     its    labor           share        Thus         rising




                                                                                                                                                       1987?




                                                                                                                                                                                                                                    2007?
   concentration                and        falling        labor           shares        should                                1982?                                     1992?            1997?             2002?

   move in tandem                     both    in       aggregate           and between

   industries                                                                                                                Figure            3 Correlation between Changes                                                    in Labor

        Autor       et    al                       test      this    implication              by           Share and Changes                                                in Industry Concentration                                         in the
                                     2017                                                                                   US Manufacturing                                 Sector at              Five Year Intervals
   estimating             bivariate           regressions                  of     five year
                                                                                                                                                  1982? 1987 through 2007? 2012
   changes          in    the    payroll share                 of value added                 on
   the

   for
            contemporaneous

            the     388 manufacturing
                                                  change         in

                                                               industries
                                                                          concentration

                                                                                       for    the
                                                                                                    confidence
                                                                                                    Notes This


                                                                                                    squares bivariate
                                                                                                                                               figure plots point


                                                                                                                                      intervals from                        Autor
                                                                                                                                                                                          estimates

                                                                                                                                                                                         et   al     2017
                                                                                                                                                                                         of the change
                                                                                                                                                                                                                and 95 percent

                                                                                                                                                                                                                   for         ordinary least

                                                                                                                                                                                                                               the payroll to
   years 1987? 2012                   Figure 3                sourced        from Autor                                                                        regressions                                             in


                                                                                                    value added                                  share on the change                               in the         CR20          index               and a
         al
                                                                                                    manufacturing
   et                          summarizes                these       regressions              In
              2017                                                                                  constant                                estimated                  at   the    level       of four digit                   US
   the   initial     five       years of our sample we                           detect       no                                      industries               and separately                   for each of the                             indicated

   significant           cross industry                  relationship              between          five year                            intervals                     Regressions            are     weighted                 by industries?

   rising concentration                     and falling labor share But                             shares of valueadded                                                    in   1982

   the      cross industry                 relationship              between            rising

   concentration                and    falling           labor       share        becomes
   negative         and         significant             in     the    next        five year

   interval and grows                   in absolute             magnitude across

   each subsequent                  interval           In the final         period from             barriers                                would enable incumbents to have higher
   2007 to 2012 we estimate                               that each             percentage          monopolistic                                               rents         and therefore lower                                    the         labor

   point rise            in    an    industry?s           CR20            concentration             share

   index      predicts          a 0.4 percentage                     point       fall    in its                              In       the      first           set of            explanations                          the      industries

   labor share                We also observe a similar negative                                    becoming                                     increasingly                            concentrated                         will          tend       to

   relationship               between changes                        in    the    share       of    be                        more dynamic                                   with higher                       productivity                          and

   labor in sales and concentration                              in all      six sectors            technical                                  change By contrast                                              in the          second                 set

        Why          has            industry             sales            concentration             of                       explanations                              the concentrating                               industries                     are

   increased              One         set     of       explanations                involves         likely                             to      be dominated by                                      less          productive                         and

                                                                          made markets              less dynamic



   superstar
   a    technological               change             that    has                                                                                             incumbents

   increasingly                ?winner        take        most? so              that                                         To shed light on these                                       alternatives                        we explored
            firms with           higher           productivity             increasingly
                                                                                                    concentration
                                                                                                    the                        relationship                            between changes                                 in



   incumbents
   capture


   persistenceare
                   a larger slice of the

                     more           likely        to
                                                          market Or if
                                                        innovate           and     the              characteristics
                                                                                                                                    and changes
                                                                                                                                       Data             limitations
                                                                                                                                                                             in     other

                                                                                                                                                                                          restrict
                                                                                                                                                                                                     industry

                                                                                                                                                                                                                 this analysis                         to

                    of        incumbent?s               innovative              advantage           manufacturing                                                      We        find         that the            industries                         that

   has      risen         Acemoglu                 and Hildebrand                                   became                                     more                    concentrated                        over               our           sample
                                                                                        2017
   the   incumbent              advantage

   would incumbents? market shares
                                                       would         increase           and so
                                                                                                    productivity?
                                                                                                    period were also the

                                                                                                                                         measured by
                                                                                                                                                                                  industries in which

                                                                                                                                                                                   either            output                   per           worker
        An alternative                set    of    explanations                 posits       that   value added                                                per          worker              TFP               or          patents                 per


   anticompetitive
   higher concentration could                                arise from                             worker? increased the most Interestingly there
                                     whereby


   potential
                    forces                                dominant               firms        are   is                       no strong                     relationship                       between                  the      change                 in

   increasingly                able   to     prevent           actual        and                    concentration                                              and the change                              in     average                   wages
          rivals     from entering                     and expanding                    Barkai
                                                                                                    productivity
                                                                                                    The findings                                               suggest              that       a positive


   regulatory
   2016
                  For instance

                  barriers          that
                                             firms may lobby

                                             complicate               market
                                                                                 for


                                                                                        entry
                                                                                                    feature
                                                                                                                              concentration

                                                                                                                                            in    any
                                                                                                                                                                            relationship

                                                                                                                                                                       plausible               explanation
                                                                                                                                                                                                               will           most
                                                                                                                                                                                                                                 of
                                                                                                                                                                                                                                              likely

                                                                                                                                                                                                                                              rising

   expansion             for   new and small firms Higher entry                                     industry concentration
Case 2:15-cv-01045-RFB-BNW Document 743-6 Filed 09/12/19 Page 7 of 7




   VOL 107 NO 5                                                 CONCENTRATING                  ON THE FALL OF THE LABOR SHARE                                                   185




                                III    Conclusions                                                    of    Innovation               Facts       and     Theory.?             http
                                                                                                      economics mitedu facultyacemoglu paper


   explanation
        We      have

                for the
                           considered

                             much discussed
                                                 a   superstar

                                                             fall
                                                                          firm

                                                                    in labor        share
                                                                                                   Autor      David
                                                                                                      Christina
                                                                                                                              David

                                                                                                                            Patterson
                                                                                                                                        Dorn
                                                                                                                                             and
                                                                                                                                                      Lawrence

                                                                                                                                                      John     Van
                                                                                                                                                                       F Katz
                                                                                                                                                                         Reenen
   of    GDP Our hypothesis                          is    that     technology            or          2017          ?The      Fall of   the Labor Share                  and    the

   market         conditions? or                  their      interaction? have                        Rise of Superstar              Firms.? http economics mit

   evolved        to increasingly               concentrate             sales     among               edu faculty dautorpolicy


   productivity
   firms with

          thereby
                       superior

                           enabling
                                      products or higher

                                           the       most       successful          firms
                                                                                                   Barkai Simcha 2016 ? Declining Labor and Capital

                                                                                                      Shares.?
                                                                                                              __




                                                                                                                           http homeuchicago edu 7Ebarkai
   to control          a   larger      market share Because                         these             doc BarkaiDecliningLaborCapital                              pdf
   superstar       firms are more profitable they will have                                        Elsby    Michael           W L Bart Hobijn and Aysegul
                                                                                                                                                                   U S Labor
                                                                                                      Activity
   a smaller           share    of labor income                  in total         sales or            Sahin          2013      ? The Decline           of    the

   value added              Consequently                  the    aggregate          share             Share.?         Brookings Papers               on Economic




                                                                                                                    Fall
   of    labor     falls    as the     weight             of superstar firms in                                             1?42


   predictions
   the   economy grows The model yields many
                  that are elaborated                 and       tested     in Autor et

                                                                                                      Capital
                                                                                                   Kaldor Nicholas                  1961
                                                                                                      and Economic Growth.? In The Theory
                                                                                                                                                ?Capital     Accumulation

                                                                                                                                                                         of

   al     2017 A key underpinning                                of the      superstar                         edited        by    F A Lutz            and    D C Hague
   firm    explanation           for    declining            labor        share    is   that          177? 222 New York Stockton                            Press

   sales     should         become           increasingly             concentrated                 Karabarbounis               Loukas and Brent Neiman 2014
   in a    small number               of   firms across               a    wide range                 ? The         Global        Decline       of    the    Labor        Share.?

   of industries            Consistent            with     the    model we find                       Quarterly Journal                    of    Economics           129
                                                                                                                                                                                1
   employment
   that the        concentration             of      sales       and of                               61? 103



   economic
                has indeed       risen from 1982 to                     2012 in each               Koh Dongya                 Ra?l    Santaeul?lia Llopis                and    Yu
                       major                     covered          by the US
                                                                                                      Intellectual
                                                                                                      Zheng 2016               ?Labor Share Decline and

                                                                                                      Barcelona
   of the       six              sectors

                 census In Autor                et   al                    we     further                              Property       Products          Capital.?
                                                             2017
   show         that    those    industries               where       concentration                            Graduate           School        of   Economics Working

   rises the       most have           the      sharpest        falls     in the    labor             Papers         927
   share and that the fall                 in the labor share                is   mainly           Lawrence                Robert    Z 2015            ?Recent         Declines

   due

   lower
           to    a reallocation

                 and
                           declining
                                           of    labor

                                                labor
                                                             toward

                                                           shares
                                                                           firms

                                                                           rather
                                                                                        with

                                                                                        than
                                                                                                      Preliminary
                                                                                                      in   Labor?s           Share

                                                                                                                   Neoclassical
                                                                                                                                      in    US Income
                                                                                                                                      Account.?         National
                                                                                                                                                                   A
                                                                                                                                                                          Bureau

   due    to declining          labor shares              within most firms                           of      Economic               Research           Working               Paper

                                                                                                      21296
                                REFERENCES                                                         Rognlie          Matthew          2015       ? Deciphering            the   Fall



                                                                                                      Accumulation
                                                                                                      Economic
                                                                                                      and Rise in the Net               Capital        Share
   Acemoglu Daron and Nikolaus Hildebrand                                           2017                      or Scarcity??           Brookings             Papers       on

        ? Increasing            Concentration                   and        Persistence                              Activity
                                                                                                                                   Spring        1?   69
